Case 4:16-cv-00591 Document 48 Filed on 11/11/16 in TXSD Page 1 of 7




                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                              November 12, 2016
                                                               David J. Bradley, Clerk
Case 4:16-cv-00591 Document 48 Filed on 11/11/16 in TXSD Page 2 of 7
Case 4:16-cv-00591 Document 48 Filed on 11/11/16 in TXSD Page 3 of 7
Case 4:16-cv-00591 Document 48 Filed on 11/11/16 in TXSD Page 4 of 7
Case 4:16-cv-00591 Document 48 Filed on 11/11/16 in TXSD Page 5 of 7
Case 4:16-cv-00591 Document 48 Filed on 11/11/16 in TXSD Page 6 of 7
Case 4:16-cv-00591 Document 48 Filed on 11/11/16 in TXSD Page 7 of 7
